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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

BEYOND79, LLC,
                                                            COMPLAINT
                            Plaintiff,
                                                            Civil Action No.
                   v.

EXPRESS GOLD CASH, INC., JUST SELL GOLD, INC.,
LONDES DIGITAL MARKETING, LLC, and OSIDIUS
DEVELOPMENT, LLC,

                            Defendants.


      Beyond79, LLC, by and through its counsel, Bond, Schoeneck & King, PLLC, as

and for its Complaint against Express Gold Cash, Inc., Just Sell Gold, Inc., Londes

Digital Marketing, LLC and Osidius Development, LLC, alleges as follows:

                                         Parties

      1.     Beyond79, LLC (“Beyond79”) is a Delaware limited liability company with

its principal place of business at 6421 Congress Avenue, Suite 110, Boca Raton,

Florida 33487.

      2.     Express Gold Cash, Inc. (“EGC”) is a New York corporation with its

principal place of business at 100 Main Street, Suite 14, Salamanca, New York 14779.

      3.     Just Sell Gold, Inc. d/b/a JustSellGold.com (“JSG”) is a Nevada

corporation with its principal place of business at 5722 Demitrios Way, Avon, New York

14414.

      4.     Londes Digital Marketing, LLC (“Londes”) is a New York limited liability

company with its principal place of business at 4 West Ave, Spencerport, New York

14559.



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      5.     Osidius Development, LLC (“Osidius”) is a New York limited liability

company with a mailing address at P.O. Box 208, Brockport, New York 14420.

                         Subject Matter Jurisdiction and Venue

      6.     The Court has subject matter jurisdiction over this action pursuant to the

Lanham Act, 15 U.S.C. § 1125(a), and 28 U.S.C. § 1331.

      7.     This Court has supplemental jurisdiction over the related state law claims

pursuant to 28 U.S.C. § 1367(a).

      8.     This Court further has jurisdiction over all claims based on diversity of the

citizenship of the parties pursuant to 28 U.S.C. § 1332.

      9.     Venue is proper in the Western District of New York pursuant to 28 U.S.C.

§ 1391(b)(1) because all Defendants are located in the Western District of New York.

                                 Personal Jurisdiction

      10.    The Court has personal jurisdiction over the Defendants because they are

all incorporated in New York and/or have their principal places of business in New York.

                                   Factual Allegations

      11.     Beyond79, through its brands, including SellYourGold.com empowers

consumers across the nation to safely sell precious metals, jewelry, and diamonds

online and prides itself on having established a well-founded reputation for quality and

customer satisfaction.

      12.    Beyond79 generates business and promotes its brands, including in

relevant part, SellYourGold.com, with (a) social media marketing; (b) search engine

optimization advertising, and (c) paid advertising through the major online search

engines, Google and Bing, in response to queries from potential customers looking to



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sell precious metals or jewelry.      Beyond79 also relies on word-of-mouth, including

reviews and recommendations on the internet, to generate business.

       13.     Beyond79 has invested enormous time, effort, and resources in its paid

advertising campaigns and promoting its high quality services under and in connection

with the SellYourGold.com trade name, and in encouraging satisfied customers to

spread the word via online reviews.

       14.     The domain SellYourGold.com is owned by Beyond79 and was acquired

by it July 2014.

       15.     Beyond79 has done more than $35 million in business using the website

SellYourGold.com.

       16.     Beyond79 has spent over $7 million advertising SellYourGold.com.

       17.     Accordingly, online reviews and recommendations are extremely valuable

to Beyond79, and crucial to the continued vitality and growth of Beyond79’s business.

       18.     EGC, JSG and Beyond79 are competitors in the business of buying

precious metals and jewelry from the public.

       19.     Like Beyond79, EGC and JSG promote themselves through various online

marketing techniques, including paid advertising with the major online search engines in

response to queries from potential customers interested in selling precious metals or

jewelry.

       20.     EGC and Beyond79 are competitors in the online precious metal buying

business.

       21.     Unlike Beyond79, however, EGC and JSG have a practice of setting up

purportedly independent websites for the dual purposes of falsely establishing their own



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credibility and legitimacy and directing consumers who visit those websites to their own

sites.

         22.   Upon information and belief, EGC, in concert with JSG, is responsible for

the creation and operation of at least four purportedly independent websites which claim

to provide consumers with information about the precious metal buying industry, all of

which fail to disclose their affiliation with EGC and/or JSG and all of which recommend

EGC and/or JSG to consumers.

         23.   The true purpose of these purportedly independent websites is to harm

the reputation of Beyond79’s most well-known brand, SellYourGold.com, falsely bolster

the reputation of EGC and/or JSG, and/or funnel business to EGC and JSG.

TopOnlineGoldBuyers.com

         24.   TopOnlineGoldBuyers.com held itself out as an independent review site

that listed and ranked online precious metal buyers and supposedly provided

consumers the opportunity to submit their own reviews of those sites.

         25.   Rather than post actual consumer reviews, TopOnlineGoldBuyers.com

published highly suspect negative reviews about SellYourGold.com.

         26.   TopOnlineGoldBuyers.com      also   published   false    and    misleading

information about SellYourGold.com that cast it in a negative light and false and

misleading information about EGC and JSG that cast them in a positive light.

Top10CashForGold.com

         27.   Top10CashForGold.com purported to be a review site started by a

disgruntled jewelry industry professional who was disappointed by his interaction with

online gold buyers.



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       28.      Top10CashForGold.com effusively recommended customers use EGC’s

services, making false claims and statements about EGC without revealing any

connection to EGC.

       29.      EGC cited both TopOnlineGoldBuyers.com and Top10CashForGold.com

as independent review websites that recommended its services.

       30.      EGC posted and continues to link to a misleading YouTube segment

featuring its attorney, Michael Hughes, directing consumers to Top10CashForGold.com

as a place where they could obtain an independent assessment of online gold buyers.

SellYourGoldLocations.com & GoldBuyerFinders.com

       31.      Defendants launched GoldBuyerFinders.com likely to steer consumers

looking to sell their gold locally to EGC by touting the benefits of selling gold online and

representing that EGC was a verified buyer of gold whereas local sellers were not

verified.

       32.      SellYourGoldLocations.com and GoldBuyerFinders.com again purport to

be an independent aggregators of local storefront precious metal buyers, but their

content discusses online gold buying extensively, displays EGC banner advertisings,

includes reference to EGC in all search results for local stores, and even includes

EGC’s phone number as a resource to obtain more information on the price of gold in

connection with its gold price calculator.

Londes and Osidius

       33.      Upon information and belief, EGC retained the services of Londes and

Osidius to create and host its supposedly independent review and informational




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websites,         including       Top10CashForGold.com,                TopOnlineGoldBuyers.com,

GoldBuyerFinders.com and SellYourGoldLocations.com.

EGC’s Claim to be “Independently Ranked #1”

       34.       Since at least September 2014, EGC has displayed false and misleading

content in its banner ads and on its website regarding the quality and character of its

services.

       35.       Among the information displayed in banner ads and on the homepage of

EGC’s website since at least 2014 were graphics and text indicating that EGC was

“Independently Ranked #1.” (Exhibits 1-3.)

       36.       The   EGC    website   also    contained        a     subpage    with   the     URL

http://www.expressgoldcash.com/independently-ranked-1 which provided further detail

about EGC’s purported number one ranking by supposed independent reviewers.

(Exhibits 4-6.)

       37.       Portions of the EGC homepage and subpage stated that EGC was

“Independently Ranked #1” and included graphics purporting to show results from

Top10CashForGold.com, and TopOnlineGoldBuyers.com, each of which listed EGC

first among ranked online gold buyers. (Exhibits 1-6.)

       38.       Text on the EGC subpage further stated that “It’s no wonder we’ve been

ranked      #1    by   multiple   independent       cash   for       gold   reviewers”   and      that

“Top10CashForGold.com ranked us #1 based on our service record and price we

offered for gold. Another review site, TopOnlineGoldBuyers.com, went a step further

and mailed ten different companies the same amount of gold. Guess who came out on




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top? Express Gold not only offered the most for their gold, but we offered the best

guarantees as well.” (Exhibits 4-6.)

       39.    The EGC subpage then invited consumers to visit the review sites it listed.

(Exhibits 4-6.)

Two of the Purported Independent Review Sites are Controlled by EGC

       40.    Upon information and belief, neither Top10CashForGold.com nor

TopOnlineGoldBuyers.com is an independent online gold buyer review site.

       41.    Upon information and belief, one of the few truly independent site ranking

gold buyers is TopConsumerReviews.com, which currently ranks SellYourGold.com as

its top online gold buyer. (https://www.topconsumerreviews.com/cash-for-gold/).

       42.    Upon    information   and   belief,   both   Top10CashForGold.com       and

TopOnlineGoldBuyers.com are controlled by EGC through companies they hired to

perform digital marketing services, including Londes and Osidius.

Top10CashForGold.com is not an Independent Review Site

       43.    Top10CashForGold.com’s home page told the story of Jeffrey Johnson, a

frustrated jewelry business professional of 32 years who claims to have gotten “ripped

off” by an unnamed online gold buyer, prompting him to create Top10CashForGold.com

and recommend EGC as the best online gold buyer. (Exhibits 7-9.)

       44.    The problem with this narrative is that is completely implausible.

       45.    Upon information and belief, there is no one named Jeffrey Johnson, who

resembles the person pictured on Top10CashForGold.com and who worked in the

jewelry industry for 32 years created Top10CashForGold.com.




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       46.    The photograph of Top10CashForGold.com’s purported author, Jeffrey

Johnson, is a stock photo on Getty Images. (Exhibits 7-10.)

       47.    Top10CashForGold.com advertised itself as independent on its home

page and in a YouTube video stating in the video that “We work for our visitors, not for

these gold sites.” (https://www.youtube.com/watch?v=Mx3Djm0VaVo)

       48.    Top10CashForGold.com’s affiliation with EGC is obvious in the html code

used to create the website and increase its search engine optimization.

       49.    Search engine optimization is the practice of using techniques in website

coding to yield higher search results in search engines like Google.

       50.    While Google’s search algorithms and code are proprietary, Google

explains on its website that its search rankings are based on usefulness and

trustworthiness of the source of information, and that “[i]f other prominent websites on

the subject link to the page, that’s a good sign the information is high quality.”

(https://www.google.com/search/howsearchworks/algorithms/)

       51.    Therefore, search engine optimization companies are known to embed

hidden links into webpages that link back to the site that they want to optimize.

       52.    The code for Top10CashForGold.com contained nine hidden links to

various EGC webpages but contains no similar links for any other gold buying

companies. (Exhibit 11.)

       53.    Upon information and belief, the search engine optimization company

hired to insert those links into Top10CashForGold.com included links to its own home

page, “PeakPositions.com” as a means of boosting its own search results. (Exhibit 11.)




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       54.      As of October 22, 2016 the code for Top10CashForGold.com contained a

portion identified as “Google Code for ExpressCashGold.com Remarketing List.”

(Exhibit 12.)

       55.      PeakPositions.com created another page called Peak Newsroom, to

create links back to EGC and Top10CashForGold.com, interlineating the text with links

to both sites. (Exhibit 13.)

       56.      Michael Hughes, an attorney affiliated with EGC and its owners, appears

on a YouTube video, a link to which can be found on EGC’s website, calling

Top10CashForGold.com an independent review site and twice recommending that

customers go to that site to determine which is the best online gold buyer.

(https://www.youtube.com/watch?v=9gLky14dJHU.)

       57.      The text “Top10CashForGold.com” even displays at the bottom of the

screen during Mr. Hughes’ segment.

       58.      The YouTube video purports to be a news segment on The Balancing Act,

a show that airs on the Lifetime television network, however, a review of the website for

The Balancing Act reveals that it is run by a company called BrandStar.

(https://thebalancingact.com/about/.)

       59.      BrandStar sells product placement services.

       60.      Upon information and belief, EGC paid The Balancing Act or BrandStar to

produce the segment featuring Mr. Hughes.

TopOnlineGoldBuyers.com is not an Independent Review Site

       61.      TopOnlineGoldBuyers.com is not an actual customer review site either.

       62.      TopOnlineGoldBuyers.com is registered to Osidius.



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      63.    GoDaddy.com’s whois lookup indicates that the registrant’s name is

Michael LaLonde.

      64.    Michael LaLonde owns Londes.

      65.    Osidius and Londes have been identified as partner companies.

https://www.prweb.com/releases/2012/5/prweb9553401.htm

      66.    The Osidius website, www.osidiusdevelopment.com, is copyrighted by

“Londes.com.”

      67.    Since     at   least    August     of     2014,    the    home      page      of

TopOnlineGoldBuyers.com invited its visitors to post their own reviews about online

gold buyers. (Exhibits 15-18.)

      68.    TopOnlineGoldBuyers.com        was      inconsistent   with   respect   to   its

functionality and the ability of independent reviewers to event submit reviews about

EGC and SellYourGold.com. (Compare Exhibits 19-22, 24-25 and 27 with Exhibits 23

and 29.)

      69.    TopOnlineGoldBuyers.com displayed a “star rating” for each company it

listed which it represented were based on “Customer Reviews” years before it ever

provided customers with the actual ability to submit reviews.

EGC Misleads Consumers About SellYourGold.com through
TopOnlineGoldBuyers.com

      70.    TopOnlineGoldBuyers.com, misled consumers about SellYourGold.com,

by holding its star ratings system out to the public as if it were based on reviews by

actual customers.

      71.    TopOnlineGoldBuyers.com also removed positive customer reviews about

SellYourGold.com. (Compare Exhibit 28 with Exhibit 29.)

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       72.    TopOnlineGoldBuyers.com posted unmistakably fake reviews about

SellYourGold.com.

       73.    As of August 29, 2017, TopOnlineGoldBuyers.com included six fake

customer reviews about SellYourGold.com, four of which were purportedly made on

August 6, 2017 and two of which were purportedly made on August 24, 2017. (Exhibit

27.)

       74.    In response to the fake online reviews on TopOnlineGoldBuyers.com,

Beyond79 sent a cease and desist letter to Londes. (Exhibit 45.)

       75.    In the letter, Beyond79 remarked on the unlikely coincidence that after

years of TopOnlineGoldBuyers.com having a web presence, six dissatisfied

SellYourGold.com customers would converge on that site on two days in August 2017

to write negative reviews.

       76.    Londes was persuaded to remove TopOnlineGoldBuyers.com from the

Internet as a result. (Exhibit 30.)

       77.    The connection between Londes and EGC is apparent based on what

happened next.

       78.    Shortly after sending the cease and desist letter to Londes, which letter

alleged violations of the Lanham Act, Beyond79 received a similar letter from counsel to

EGC alleging Lanham Act violations by Beyond79. (Exhibit 46.)

       79.    In   addition   to      ranking   EGC   as   its   top   online   gold   buyer,

TopOnlineGoldBuyers.com, included a glowing write-up about EGC written from the

perspective of someone who actually used EGC’s services on numerous occasions.




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       80.      TopOnlineGoldBuyers.com also included a purported customer review

praising EGC on August 1, 2014, August 24, 2015, September 3, 2017 and March 26,

2018, but omitted that review on December 6, 2016 and appears to have eliminated

review functionality for EGC at that time. (Compare Exhibits 19-22 and 24 with Exhibit

21.)

       81.      The TopOnlineGoldBuyers.com homepage included a ranking of online

gold buyers that contained false and misleading statements about SellYourGold.com

and ExpressGoldCash.com.

       82.      As of January 11, 2011 the TopOnlineGoldBuyers.com home page stated

that “In July 2010, we put the top 10 online cash for gold buyers to the test. We sent

identical gold packages to each company, consisting of 6.6 dwt (pennyweights) of 14k

gold. Then, we rated each company based on: - Payout . . . – BBB Rating . . . [and] –

Customer Service.” It then proceeded to list ten websites with their purported insurance

coverage, price per DWT paid, BBB rating, guarantee period and years in business as

well as the amount that each company purportedly paid for 6.6 DWT of 14k gold.

(Exhibit 31.)

       83.      Later versions of the website, published from 2012 to 2018 contained the

same total payout amounts from EGC and other online gold buyers, but different prices

per DWT for the gold purchased such that the arithmetic did not tie out. (Exhibit 32 and

14-18.)

       84.      Those later versions of the website omit the fact that the test of online gold

buyers was purportedly conducted in July 2010. (Exhibit 32 and 14-18.)




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        85.       TopOnlineGoldBuyers.com contained other untrue statements about

SellYourGold.com, including that it was in operation for only two years. (Exhibit 32 and

14-18.)

        86.       From 2014 to 2018, TopOnlineGoldBuyers.com falsely said that

SellYourGold.com had been in operation for only two years. (Exhibit 32 and 14-18.)

        87.       SellYourGold.com was registered in 2009 and was live no later than early

2010.

        88.       TopOnlineGoldBuyers.com falsely said that SellYourGold.com had a

rating of “A-.”

        89.       Beyond79 had an “A” rating with the Better Business Bureau during the

relevant time period.

        90.       From 2014 to 2018, TopOnlineGoldBuyers.com falsely said that

SellYourGold.com insured shipments only up to $1,000. (Exhibits 31, 32 and 14-18.)

        91.       SellYourGold.com insures shipments at a rate of up to $25,000.

        92.       TopOnlineGoldBuyers.com attributed a check issued from GoldKit.com to

SellYourGold.com, evidencing the fact that SellYourGold.com was never actually

reviewed. (Exhibits 23 and 27.)

        93.       Upon information and belief, EGC, either itself or through an agent, acting

as TopOnlineGoldBuyers.com, purchased Google AdWords advertising meant to be

displayed when consumers searched for terms similar to “sell your gold” on Google

which read “SellYourGold Reviews & Scams – Consumer Reviews: 1.2/5 Stars” and

used a URL of “www.toponlinegoldbuyers.com/SellYourGold/Scams.” (Exhibits 33 and

34.)



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       94.     The intent and effect of the Google AdWords campaign was to suggest to

potential SellYourGold.com customers that SellYourGold.com was a scam.

       95.     This    campaign    also   allowed   an   ostensibly   independent   party,

TopOnlineGoldBuyers.com, to monopolize key Google AdWords by deliberately

misleading consumers and diverting potential customers away from SellYourGold.com.

EGC Makes Untrue and Misleading Statements About Itself on
Top10CashForGold.com

       96.     Top10CashForGold.com contained false and misleading statements about

EGC.

       97.     Top10CashForGold.com said that EGC’s “price is also always the best on

the net . . . .” (Exhibits 7-9.)

       98.     Top10CashForGold.com listed EGC as its top online gold buyer.

       99.     Top10CashForGold.com listed JSG, another online gold buyer affiliated

with the owners of EGC, as its second ranked online gold buyer.

       100.    EGC has represented that SellYourGold.com is the market leader in

online gold buying.

       101.    Top10CashForGold.com failed to even list SellYourGold.com as one of

the top ten cash for gold sites on the Internet.

EGC Launches New Website Aimed at Diverting Traffic from SellYourGold.com

       102.    EGC, through Londes, launched another website, GoldBuyerFinders.com

in or around 2011.

       103.    The registered owner of GoldBuyerFinders.com is Michael LaLonde of

Londes.




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       104.   GoldBuyerFinders.com purports to be a website that helps consumers find

local store front gold buyers.

       105.   However,       the   homepage       of    GoldBuyerFinders.com    contains   an

advertising for EGC, and the Calculate Payout page of GoldBuyerFinders.com contains

EGC’s phone number below the calculator. (Exhibits 35 and 36.)

       106.   GoldBuyerFinders.com How to Sell Gold page contains additional

advertisings for EGC and related company JSG, and links to the archived versions

TopOnlineGoldBuyers.com, ReviewGoldBuyers.com and Top7CashForGold.com which

links direct visitors to archive.org version of those websites. (Exhibit 37.)

       107.   SellYourGoldLocations.com was launched on or before May 31, 2013.

       108.   As     of     May     31,   2013,        the   content   and   appearance     of

SellYourGoldLocations.com was identical to the content of GoldBuyerFinders.com,

including the text “GoldBuyerFinder.com” at the top. (Exhibit 38.)

       109.   The next iteration of SellYourGoldLocations.com archived on archive.org,

on April 27, 2014, is identical except that the name at the top of the page was changed

to “SellYourGOLDLocations.com.” (Exhibit 39.)

       110.   SellYourGoldLocations.com is registered to Osidius.

       111.   The registrant of SellYourGoldLocations.com is Michael LaLonde.

       112.   Just        like     Top10CashForGold.com,           TopOnlineGoldBuyers.com,

GoldBuyerFinders.com and SellYourGoldLocations.com are yet other pass through

sites meant to funnel customers to EGC’s home page. (Exhibit 40.)




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       113.     While SellYourGoldLocations.com and GoldBuyerFinders.com purport to

simply list local store front gold buyers, each search result for a local store also comes

with a listing for EGC at the top. (Exhibit 41.)

       114.     The results for local companies are primarily designated as “unverified”

whereas EGC’s paid result is identified as “verified” on SellYourGoldLocations.com and

GoldBuyerFinders.com. (Exhibit 41.)

       115.     SellYourGoldLocations.com and GoldBuyerFinders.com appear to sell

verification for $24/month. (Ex 42.)

       116.     All search results also include text recommending that customers sell

online, and lists EGC as the only online gold buyer. (Exhibit 41.)

       117.     Each page also contains a box called “Online Buyer Reviews,” but the

only online buyer reviewed is EGC. (Exhibit 41.)

       118.     SellYourGoldLocations.com          and      GoldBuyerFinders.com     “highly

recommend[] you talk to Express Gold before selling your gold jewelry elsewhere.”

(Exhibit 43.)

       119.     They make a case for “Why Online Companies Can Pay More” than the

storefront locations for which the site purports to provide directory services. (Exhibit

43.)

       120.     SellYourGoldLocations.com     and        GoldBuyerFinders.com   assert   that

“Express Gold has been ranked as a top online gold buyer in several independently

executed tests.” (Exhibit 43.)




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       121.   Like GoldBuyerFinders.com, there is a gold price calculator on

SellYourGoldLocations.com that includes at the bottom EGC’s phone number for more

information. (Exhibit 44.)

       122.   The phone number listed on the calculator is (877) 465-3165. (Exhibit 44.)

       123.   The phone number for EGC listed on its website is (877) 465-3165.

       124.   The     apparent      purpose        of   SellYourGoldLocations.com      and

GoldBuyerFinders.com is to mislead customers interested in selling their gold into

believing that EGC was independently chosen by them as the best place to sell gold.

                               FIRST CLAIM FOR RELIEF
                                False Advertising Under
                                  15 U.S.C. § 1125(a)

       125.   Beyond79 repeats and realleges each and every allegation in Paragraphs

1 through 124 as if stated fully herein.

       126.   Defendants, in connection with services rendered in interstate commerce,

have made and continue to make false statements of fact and false representations of

fact as to the nature, characteristics and quality of Beyond79’s services.

       127.   Specifically,   Defendants      made      material   misstatements    about

SellYourGold.com’s years of operation, Better Business Bureau rating and insurance

coverage, all of which are attributes customers rely on when selecting an online

precious metals buyer.

       128.   According to TopConsumerReviews.com, which is understood to be an

independent review site for multiple industries, the most important factors when

selecting a cash for gold company are, insurance, BBB rating and Guarantee.




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(https://www.topconsumerreviews.com/cash-for-gold/detailed-reviews.php#sell_your_

gold.)

         129.   Defendants further published fake online reviews making negative

statements about SellYourGold.com’s services even though SellYourGold.com had not

actually been reviewed and used a star rating system that misled consumers into

believing it was based on actual customer reviews.

         130.   Defendants additionally caused search results for terms similar to “Sell

Your Gold” on Google to return results associating SellYourGold.com with the word

“scam” so as to mislead consumers into believing that Beyond79’s services were a

scam.

         131.   Defendants’ actions have caused customers to divert their business away

from Beyond79’s SellYourGold.com and toward its competitors, including EGC and

JSG.

         132.   Defendants’ actions have also reduced the good will associated with

SellYourGold.com.

         133.   Defendants’   false   and    misleading    statements    of   fact      and

misrepresentations of fact concerning Beyond79’s services were made, and continue to

be made, in commercial advertising in a manner material to the public’s decision to use

EGC’s and JSG’s services, or the services of Beyond79’s competitors instead of those

of Beyond79.

         134.   Defendant’s   false   and   misleading    statements    are   commercial

advertisements that Defendants have placed into interstate commerce.




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       135.   The above described acts of Defendants have deceived, or have the

tendency to deceive, a substantial segment of               consumers    who see such

representations.

       136.   The above described acts are material in that they are likely to influence a

consumer’s purchasing decision.

       137.   EGC, JSG and Beyond79 are direct competitors in the online precious

metals purchasing industry.

       138.   As a result of Defendants’ false and misleading advertisings, Beyond79

has suffered a direct diversion of customers to EGC and/or JSG and other of its

competitors and has been deprived of substantial revenue in an amount to be

determined at trial but believed to be no less than $6 million.

       139.   Defendants have caused and will continue to cause immediate and

irreparable injury to Beyond79, including injury to its business, reputation and good will,

for which there is no adequate remedy at law, and as such Beyond79 is entitled to

injunctive relief under 15 U.S.C. § 1116 restraining Defendants, their agents,

employees, representatives and all persons acting in concert with them from engaging

in further acts in violation of § 43(a) of the Lanham Act and ordering removal of all of

Defendants’ false advertising.

       140.   Beyond79 is entitled under 15 U.S.C. § 1117 to actual damages to be

determined at trial, to have such damages trebled, to disgorgement of EGC’s and JSG’s

profits and the costs of this action.

       141.   Defendants have acted in bad faith and have knowingly, willfully and

deliberately engaged in false advertising with the intent to deceive the public and injure



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competitors, including Beyond79.       Thus, in addition to the relief requested herein,

Beyond79 is entitled to reasonable attorneys’ fees pursuant to 15 U.S.C. § 1117(a).

                              SECOND CLAIM FOR RELIEF
                                False Advertising Under
                                  N.Y. Bus. Law § 349

       142.   Beyond79 repeats and realleges each and every allegation in Paragraphs

1 through 141 as if stated fully herein.

       143.   Defendants have engaged in a consumer-oriented pattern and practice of

making false statements about Beyond79.

       144.   Defendants’ false statements about Beyond79 were placed on consumer

focused websites.

       145.   Those false statements were materially misleading with respect to the

quality and characteristic of Beyond79’s services.

       146.   Specifically,   Defendants     made     material   misstatements    about

SellYourGold.com’s years of operation, Better Business Bureau rating and insurance

coverage, all of which are attributes customers rely on when selecting an online

precious metals buyer.

       147.   Defendants further published fake consumer reviews making negative

statements about SellYourGold.com’s services even though SellYourGold.com had not

actually been reviewed and used a star rating system that misled consumers into

believing it was based on actual customer reviews.

       148.   Defendants additionally caused search results for terms similar to “Sell

Your Gold” on Google to return results associating SellYourGold.com with the word




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“scam” so as to mislead consumers into believing that Beyond79’s services were a

scam.

        149.   Defendants’ actions have caused customers to divert their business away

from Beyond79’s SellYourGold.com and toward its competitors, including EGC and

JSG.

        150.   Defendants’ actions have also reduced the good will associated with

SellYourGold.com.

        151.   Defendants’ conduct was willful because it knew the false and misleading

representations about SellYourGold.com were materially false.

        152.   Beyond79 has been damaged at an amount to be determined at trial that

is not less than $6 million.

        153.   Beyond79 is entitled to the greater of its actual damages or $50 for each

instance of dissemination of the false information by Defendants.

                               THIRD CLAIM FOR RELIEF
                                False Advertising Under
                                N.Y. Gen. Bus. Law § 350

        154.   Beyond79 repeats and realleges each and every allegation in Paragraphs

1 through 153 as if stated fully herein.

        155.   Defendants have engaged in a consumer-oriented pattern and practice of

making false statements about Beyond79.

        156.   Defendants’ false statements about Beyond79 were placed on consumer

focused websites.

        157.   Those false statements were materially misleading with respect to the

quality and characteristic of Beyond79’s services.



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        158.   Specifically,   Defendants   made     material   misstatements    about

SellYourGold.com’s years of operation, Better Business Bureau rating and insurance

coverage, all of which are attributes customers rely on when selecting an online

precious metals buyer.

        159.   Defendants further published fake consumer reviews making negative

statements about SellYourGold.com’s services even though SellYourGold.com had not

actually been reviewed and used a star rating system that misled consumers into

believing it was based on actual customer reviews.

        160.   Defendants additionally caused search results for terms similar to “Sell

Your Gold” on Google to return results associating SellYourGold.com with the word

“scam” so as to mislead consumers into believing that Beyond79’s services were a

scam.

        161.   Defendants’ actions have caused customers to divert their business away

from Beyond79’s SellYourGold.com and toward its competitors, including EGC and

JSG.

        162.   Defendants’ actions have also reduced the good will associated with

SellYourGold.com.

        163.   Defendants’ conduct was willful because it knew the false and misleading

representations about SellYourGold.com were materially false.

        164.   Beyond79 has been damaged in an amount to be determined at trial not

less than $6 million.




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                               FOURTH CLAIM FOR RELIEF
                                  Unfair Competition

        165.   Beyond79 repeats and realleges each and every allegation in Paragraphs

1 through 164 as if stated fully herein.

        166.   Defendants have engaged in a consumer-oriented pattern and practice

aimed at the public of making false statements about Beyond79.

        167.   Defendants’ false statements about Beyond79 were placed on consumer

focused websites.

        168.   Those false statements were materially misleading with respect to the

quality and characteristic of Beyond79’s services.

        169.   Specifically,   Defendants   made     material    misstatements   about

SellYourGold.com’s years of operation, Better Business Bureau rating and insurance

coverage, all of which are attributes customers rely on when selecting an online

precious metals buyer.

        170.   Defendants further published fake consumer reviews making negative

statements about SellYourGold.com’s services even though SellYourGold.com had not

actually been reviewed and used a star rating system that misled consumers into

believing it was based on actual customer reviews.

        171.   Defendants additionally caused search results for terms similar to “Sell

Your Gold” on Google to return results associating SellYourGold.com with the word

“scam” so as to mislead consumers into believing that Beyond79’s services were a

scam.




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       172.   Defendants’ actions have caused customers to divert their business away

from Beyond79’s SellYourGold.com and toward its competitors, including EGC and

JSG.

       173.   Defendants’ actions have also reduced the good will associated with

SellYourGold.com.

       174.   Defendants’ conduct was undertaken in bad faith in an effort to harm

consumers and Beyond79.

       175.   Beyond79 has been damaged in an amount to be determined at trial not

less than $6 million.

                                FIFTH CLAIM FOR RELIEF
                                   Unjust Enrichment

       176.   Beyond79 repeats and realleges each and every allegation in Paragraphs

1 through 175 as if stated fully herein.

       177.   EGC made false statements about Beyond79 on consumer focused

websites or cause such false statements to be made.

       178.   Specifically, EGC made or caused to be made material misstatements

about SellYourGold.com’s years of operation, Better Business Bureau rating and

insurance coverage, all of which are attributes customers rely on when selecting an

online precious metals buyer.

       179.   EGC further published or caused to be published fake online reviews

making negative statements about SellYourGold.com’s services even though

SellYourGold.com had not actually been reviewed and used a star rating system that

misled consumers into believing it was based on actual customer reviews.




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       180.    EGC additionally caused search results for “Sell Your Gold” on Google to

return results associating SellYourGold.com with the word “scam” so as to mislead

consumers into believing that Beyond79’s services were a scam.

       181.    EGC’s actions have caused customers to divert their business away from

Beyond79’s SellYourGold.com and toward its competitors, including EGC.

       182.    EGC has been unjustly enriched as a result of the false statements it

made and caused to be made.

       183.    Beyond79 has been damaged in an amount to be determined at trial not

less than $6 million.

                               SIXTH CLAIM FOR RELIEF
                                False Advertising Under
                                  15 U.S.C. § 1125(a)

       184.    Beyond79 repeats and realleges each and every allegation in Paragraphs

1 through 183 as if stated fully herein.

       185.    Defendants, in connection with services rendered in interstate commerce,

have made and continue to make false statements of fact and false representations of

fact as to the nature, characteristics and quality of EGC’s services.

       186.    Specifically, EGC made material misstatements about the independence

of   various    consumer     review    sites    including    Top10CashForGold.com          and

TopOnlineGoldBuyers.com, both of which promoted EGC as the best online precious

metal buyer on its own website and in a YouTube video.

       187.    Defendants    further   published    fake    online   review   sites   including

Top10CashForGold.com,        TopOnlineGoldBuyers.com,          GoldBuyerFinders.com        and




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SellYourGoldLocations.com which promoted and continue to promote EGC and JSG

while claiming independence and failing to disclose their relationship to EGC and JSG.

       188.   Defendants’ actions have caused customers to divert their business away

from Beyond79’s SellYourGold.com toward EGC and JSG.

       189.   Defendants’ actions have also falsely increased the goodwill of EGC to the

detriment of Beyond79.

       190.   Defendants’     false   and    misleading    statements    of    fact      and

misrepresentations of fact concerning EGC’s services were made, and continue to be

made, in commercial advertising in a manner material to the public’s decision to use

EGC’s services, or the services of Beyond79.

       191.   Defendant’s     false   and   misleading    statements    are   commercial

advertisements that Defendants have placed into interstate commerce.

       192.   The above described acts of Defendants have deceived, or have the

tendency to deceive, a substantial segment of              consumers    who see such

representations.

       193.   The above described acts are material in that they are likely to influence a

consumer’s decision to engage an online precious metals buyer.

       194.   EGC, JSG and Beyond79 are direct competitors in the online precious

metals purchasing industry.

       195.   As a result of Defendants’ false and misleading advertisings, Beyond79

has suffered a direct diversion of customers to EGC, JSG and has been and will

continue to be deprived of substantial revenue in an amount to be determined at trial but

believed to be no less than $6 million.



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       196.   Defendants have caused and will continue to cause immediate and

irreparable injury to Beyond79, including injury to its business, reputation and good will,

for which there is no adequate remedy at law, and as such Beyond79 is entitled to

injunctive relief under 15 U.S.C. § 1116 restraining Defendants, their agents,

employees, representatives and all persons acting in concert with them from engaging

in further acts in violation of § 43(a) of the Lanham Act and ordering removal of all of

Defendants’ false advertising.

       197.   Beyond79 is entitled under 15 U.S.C. § 1117 to actual damages to be

determined at trial, to have such damages trebled, to disgorgement of EGC’s and JSG’s

profits and the costs of this action.

       198.   Defendants have acted in bad faith and have knowingly, willfully and

deliberately engaged in false advertising with the intent to deceive the public and injure

competitors, including Beyond79.        Thus, in addition to the relief requested herein,

Beyond79 is entitled to reasonable attorneys’ fees pursuant to 15 U.S.C. § 1117(a).

                              SEVENTH CLAIM FOR RELIEF
                                False Advertising Under
                                  N.Y. Bus. Law § 349

       199.   Beyond79 repeats and realleges each and every allegation in Paragraphs

1 through 198 as if stated fully herein.

       200.   Defendants have engaged in a consumer-oriented pattern and practice of

making false statements about EGC.

       201.   Defendants’ false statements about EGC were placed on consumer

focused websites.




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       202.   Those false statements were materially misleading with respect to the

quality and characteristic of EGC services.

       203.   Specifically,   Defendants   made    material   misstatements   about   the

independence of sites that purported to review and actually promoted EGC.

       204.   Defendants’ actions have caused customers to divert their business away

from Beyond79’s SellYourGold.com and from other competitors toward EGC and JSG.

       205.   Defendants’ actions have also falsely increased the goodwill of EGC and

JSG to the detriment of the good will associated with SellYourGold.com.

       206.   Defendants’ conduct was willful because it knew the false and misleading

representations about EGC and JSG, particularly claims of independence, were

materially false.

       207.   Beyond79 has been damaged in an amount to be determined at trial not

less than $6 million.

       208.   Beyond79 is entitled to the greater of its actual damages or $50 for each

instance of dissemination of the false information by Defendants.

                              EIGHTH CLAIM FOR RELIEF
                                False Advertising Under
                               N.Y. Gen. Bus. Law § 350

       209.   Beyond79 repeats and realleges each and every allegation in Paragraphs

1 through 208 as if stated fully herein.

       210.   Defendants have engaged in a consumer-oriented pattern and practice of

making false statements about EGC and JSG.

       211.   Defendants’ false statements about EGC and JSG were placed on

consumer focused websites.



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       212.   Those false statements were materially misleading with respect to the

quality and characteristic of EGC’s and JSG’s services.

       213.   Specifically,   Defendants    made   material    misstatements   about   the

independence of sites that purported to review and actually promoted EGC and JSG.

       214.   Defendants’ actions have caused customers to divert their business away

from Beyond79’s SellYourGold.com and from other competitors toward EGC and JSG.

       215.   Defendants’ actions have also falsely increased the goodwill of EGC and

JSG to the detriment of the good will associated with SellYourGold.com.

       216.   Defendants’ conduct was willful because it knew the false and misleading

representations about EGC and JSG, particularly claims of independence, were

materially false.

       217.   Beyond79 has been damaged in an amount to be determined at trial not

less than $6 million.

                               NINTH CLAIM FOR RELIEF
                                  Unfair Competition

       218.   Beyond79 repeats and realleges each and every allegation in Paragraphs

1 through 217 as if stated fully herein.

       219.   Defendants have engaged in a consumer-oriented pattern and practice

aimed at the public of making false statements about EGC and JSG and the

independence of purported “review” websites.

       220.   Defendants’ false statements about EGC and JSG were placed on

consumer focused websites which purport to be independent but which are in fact

controlled     by       EGC     and        JSG,    including     Top10CashForGold.com,

TopOnlineGoldBuyers.com, GoldBuyerFinders.com and SellYourGoldLocations.com..

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       221.    Those false statements were materially misleading with respect to the

quality and characteristic of EGC’s and JSG’s services.

       222.    Defendants’ actions have caused customers to divert their business away

from Beyond79’s SellYourGold.com toward EGC and JSG.

       223.    Defendants’ actions have also reduced the good will associated with

SellYourGold.com.

       224.    Defendants’ conduct was undertaken in bad faith in an effort to harm

consumers and Beyond79.

       225.    Beyond79 has been damaged in an amount to be determined at trial not

less than $6 million.

                               TENTH CLAIM FOR RELIEF
                                  Unjust Enrichment

       226.    Beyond79 repeats and realleges each and every allegation in Paragraphs

1 through 225 as if stated fully herein.

       227.    EGC and JSG made false statements about themselves on consumer

focused websites or cause such false statements to be made.

       228.    Specifically, EGC and JSG intimated that they had been reviewed as the

best gold buyers by independent websites when the review sites identified were not

independent.

       229.    Defendants’ actions have caused customers to divert their business away

from Beyond79’s SellYourGold.com and its competitors and towards EGC and JSG.

       230.    Defendants have been unjustly enriched as a result of the false

statements they made and caused to be made.




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       231.   Beyond79 has been damaged in an amount to be determined at trial not

less than $6 million.

                        ELEVENTH CLAIM FOR RELIEF
                         Unfair Trade Practices Under
   Florida Deceptive and Unfair Trade Practices Act (FDUPTA §§ 501.201-.213)

       232.   Beyond79 repeats and realleges each and every allegation in Paragraphs

1 through 231 as if stated fully herein.

       233.   Beyond79 has its principal place of business in Florida.

       234.   Defendants operate on the Internet and make or have made the false and

misleading      content      on      EGC’s        website,    TopOnlineGoldBuyers.com,

Top10CashForGold.com,        GoldBuyerFinders.com       and   SellYourGoldLocations.com

available to Florida residents and consumers.

       235.   Defendants have published misleading banner advertisings which are

displayed in Florida.

       236.   Defendants have acquired misleading and false Google AdWords results

which display in Florida.

       237.   Defendants’ unconscionable, deceptive, and unfair acts of claiming that

EGC was independently rated the #1 online gold buyer when the proffered ratings

sources were not independent, publishing of false “ratings” and “review” websites under

false pretense to promote EGC without disclosing the connection between

Top10CashForGold.com and TopOnlineGoldBuyers.com and EGC, disseminating fake

and false reviews about SellYourGold.com, infringing on the SellYourGold mark by

creating SellYourGoldLocations.com for the purpose of directing customers to EGC,




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have been wanton, intentional, and reckless and with complete disregard to Beyond79’s

rights and with the purpose of deceiving the Florida public.

      238.   Defendants’ deceptive and unfair trade practices have caused, and will

continue to cause, irreparable injury to Beyond79, and are likely to result in the unjust

enrichment of EGC, unless enjoined by the Court.

      239.   Defendants’ deceptive and unfair trade practices have caused, and will

continue to cause irreparable injury to Plaintiffs, and are likely to result in unjust

enrichment of Defendants, unless enjoined by this Court.

      WHEREFORE, Beyond79 respectfully seeks the following relief:

      1.     judgment in the amount of the greater of $50 per view or $6 million for

      damages arising out of false and misleading statements made by Defendants

      about SellYourGold.com, plus interest;

      2.     judgment in the amount of the greater of $50 per view or $6 million for

      damages arising out of false and misleading statements made by Defendants

      regarding EGC, plus interest;

      3.     judgment in the amount of the greater of $50 per view or $6 million for

      damages arising out of Defendants’ false and misleading publication of

      TopOnlineGoldBuyers.com, plus interest;

      4.     judgment in the amount of the greater of $50 per view or $6 million for

      damages arising out of Defendants’ false and misleading publication of

      Top10CashForGold.com, plus interest;




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5.    judgment in the amount of the greater of $50 per view or $6 million for

damages arising out of Defendants’ false and misleading publication of

GoldBuyerFinders.com, plus interest;

6.    judgment in the amount of the greater of $50 per view or $6 million for

damages arising out of Defendants’ false and misleading publication of

SellYourGoldLocations.com, plus interest;

7.    injunctive relief precluding Defendants and all persons acting for or

through them, Internet Service Providers and domain name registrars, from:

         a. making future false or misleading claims about SellYourGold.com;

         b. falsely claiming that EGC is independently rated #1;

         c. directing     customers         to        Top10CashForGold.com         or

             TopOnlineGoldBuyers.com as purported independent sources of

             EGC’s #1 rating;

8.    injunctive relief compelling Defendants and all persons acting for or

through them, as well as Internet Service Providers and domain name registrars,

to:

         a. remove any and all references on the Internet to ratings of online

             precious    metal    buyers         by    Top10CashForGold.com        or

             TopOnlineGoldBuyers.com, including but not limited to YouTube

             videos referencing those websites;

         b. cease the distribution of print materials referencing ratings of online

             precious    metal    buyers         by    Top10CashForGold.com        or




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                   TopOnlineGoldBuyers.com and/or their rating on online precious

                    metal buyers;

                c. cease the use of deceptive and false Google AdWords campaigns

                   referencing SellYourGold;

                d. cease    the     publication    of   SellYourGoldLocations.com       and

                   GoldBuyerFinders.com;

         9. granting Beyond79 its reasonable attorneys' fees; and

         10.granting Beyond79 such other and further relief as the Court deems just

            and proper.

                               Demand for Jury Trial

      Beyond79 demands trial by jury on all issues so triable.

Dated: March 11, 2019                             BOND, SCHOENECK & KI       , PLLC


                                                  gy:        ~     ~            ~
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